
PER CURIAM.
Donte Rogers appeals the judgments and sentences imposed upon him after the trial court found he violated his probation in case numbers 04-CF-010445 and 04-CF-013416. We affirm but remand solely for entry of a proper order revoking probation. See Mitchell v. State, 263 So.3d 252, 252 (Fla. 5th DCA 2019) (remanding for entry of proper written order revoking probation); see also Green v. State, 23 So.3d 820, 821 (Fla. 4th DCA 2009) (remanding for entry of written order revoking probation where record clearly showed trial court had revoked appellant's probation); Dolinger v. State, 779 So.2d 419, 421 (Fla. 2d DCA 2000) (determining trial court erred by failing to enter written revocation order and remanding for entry of said order).
AFFIRMED; REMANDED for entry of revocation order.
EISNAUGLE, HARRIS and GROSSHANS, JJ., concur.
